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                                             United States District Court
                                             Eastern District of California




Amazon.com, Inc. and Amazon Logistics, Inc.
                                                               Case Number:   2:24-cv-01715-WBS-AC
 Plaintiff(s)

 V.
                                                               APPLICATION FOR PRO HAC VICE
Ramin Akramy, et al.                                           AND PROPOSED ORDER

 Defendant(s)

Pursuant to Local Rule 180(b)(2) of the United States District Court for the Eastern District of California,
Lucas C. Townsend                                 hereby applies for permission to appear and participate as
counsel in the above entitled action on behalf of the following party or parties:
Amazon.com, Inc. and Amazon Logistics, Inc.

On            06/06/2011          (date), I was admitted to practice and presently in good standing in the
                  District of Columbia                (court). A certificate of good standing from that court is
submitted in conjunction with this application. I have not been disbarred or formally censured by a court of
record or by a state bar association; and there are not disciplinary proceedings against me.


   I have /      I have not concurrently or within the year preceding this application made a pro hac vice
application to this court. (If you have made a pro hac vice application to this court within the last year, list
the name and case number of each matter in which an application was made, the date of application and
whether granted or denied.)




Date:           06/26/2024                          Signature of Applicant:



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Pro Hac Vice Attorney

Applicant's Name:                  Lucas C. Townsend

Law Firm Name:                     Gibson, Dunn & Crutcher LLP
                                   1050 Connecticut Avenue, N.W.
Address:


City:                              Washington                    State:       DC   Zip: 20036-5306
Phone Number w/Area Code: (202) 955-8500
City and State of Residence: Rockville, Maryland
                                   ltownsend@gibsondunn.com
Primary E-mail Address:
Secondary E-mail Address:


I hereby designate the following member of the Bar of this Court who is registered for ECF with whom the
Court and opposing counsel may readily communicate regarding the conduct of the case and upon whom
electronic notice shall also be served via the Court’s ECF system:

Local Counsel's Name:              Megan Cooney

Law Firm Name:                     Gibson, Dunn & Crutcher LLP

Address:                           3161 Michelson Drive



City:                              Irvine                        State:       CA   Zip:   92612-4412

Phone Number w/Area Code: (949) 451-3800                                  Bar #    295174




                                                         ORDER
The Pro Hac Vice Application is APPROVED. The Pro Hac Vice Attorney is DIRECTED to request
filing access through PACER.
Dated: June 27, 2024




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